AO 450 (Rev. 5/85) Judgment in a Civil Case




                      United States District Court
                                       EASTERN DISTRICT OF WISCONSIN


EQUAL EMPLOYMENT
OPPORTUNITY COMMISSION,

                               Plaintiff,
                                                            JUDGMENT IN A CIVIL CASE
                     v.                                        Case No. 17-C-70

WAL-MART STORES EAST LP,

                               Defendant.


☒         Jury Verdict. This action came before the Court for a trial by jury. The issues have been
          tried and the jury has rendered its verdict

☒         Decision by Court. This action came before the Court for consideration.

        IT IS HEREBY ORDERED AND ADJUDGED that judgment is entered in favor of
Plaintiff Equal Employment Opportunity Commission and against Walmart Stores East LP,
awarding Marlo Spaeth $150,000.00 in compensatory damages, $150,000.00 in punitive damages,
$44,757.80 in backpay, $5,978.63 in prejudgment interest, and $68,926.16 for tax consequences,
for a total award in the amount of $419,662.59.

       IT IS FURTHER ORDERED that Walmart must reinstate Marlo Spaeth as a Walmart
employee at a rate of pay of $14.90 per hour. Walmart shall also consult with Marlo Spaeth’s
guardian regarding any need for discipline or accommodations while she continues her
employment.


                                                Approved: s/ William C. Griesbach
                                                          WILLIAM C. GRIESBACH
                                                          United States District Judge
          Dated: March 22, 2022

                                                          GINA M. COLLETTI
                                                          Clerk of Court

                                                          s/ Lori Hanson
                                                          (By) Deputy Clerk

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